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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF RHODE ISLAND

LORRI LANGFORD, individually and on   :
behalf of a class of persons similarly situated,
                                      :
       Plaintiff                      :
                                      :
       v.                             :                     C.A. No. 1: 16-cv-00209-JJM-LDA
                                      :
BUFFALO WILD WINGS INTERNATIONAL, :
INC., BUFFALO WILD WINGS, INC. and    :
BLAZIN WINGS, INC. d/b/a BUFFALO WILD :
WINGS, JOHN DOE COMPANIES,            :
1 through 10, inclusive,              :
       Defendants                     :

              ORDER GRANTING PLAINTIFF’S UNOPPOSED MOTION
            FOR APPROVAL OF SETTLEMENT OF COLLECTIVE ACTION

       This matter was before this Court on Plaintiff’s Unopposed Motion for Approval of

Settlement of Collective Action (the “Motion”), and following consideration thereof, it is hereby

                         ORDERED, ADJUDGED AND DECREED:

       1.      the Motion is granted;
       2.      the settlement in this matter is fair and adequate and is approved. The terms in the
               Settlement Agreement are incorporated herein;
       3.      the Settlement Class is certified for settlement purposes;
       4.      the Plaintiff’s proposed Settlement Notice and the plan for distribution of the
               settlement funds is approved;
       5.      the Incentive Award is approved;
       6.      the Plaintiff’s Counsel’s request for attorney’s fees and expenses is granted; and,
       7.      Rust Consulting, Inc. is approved as the third-party Settlement Administrator.



       ENTERED as an order of this Court on the _____           November
                                                 16th dayy of __________________, 2020.




                                             Hon. John J. McConnell Jr., Chief Judge
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